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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                    Master File No. 22-20955-Civ-GAYLES/TORRES


   In re LAKEVIEW LOAN SERVICING
   DATA BREACH LITIGATION




               ORDER ON MOTION FOR RECONSIDERATION
          OF ORDER ON PRODUCTION OF INVESTIGATIVE REPORTS


          The parties have briefed and presented argument with respect to a

    continuing discovery issue surrounding Plaintiffs’ efforts to compel production of

    investigative reports prepared by cybersecurity firms Mandiant and Protiviti over

    Defendants’ objections. Defendants contend that they are protected from disclosure

    because they were prepared in anticipation of litigation and adverse regulatory

    proceedings after an unauthorized access to certain devices in Bayview’s network

    (the “breach”). The Court agreed in its Order denying production entered June 12,

    2024. [D.E. 211].

          Plaintiffs now contend that the work product protection recognized by the

    Court was actually waived because these documents themselves were disclosed to

    mortgage industry regulators following the breach.      Plaintiffs argue that the

    Court’s original Order on this matter overlooked that issue, thus warranting

    reconsideration. And they renew their efforts to gain production of the documents.

    [D.E. 218].

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          Upon initial review of the briefing on this issue, the matter was addressed

    again at a discovery hearing conducted December 19, 2024. After considering the

    parties’ arguments, the Court requested supplemental briefing on the legal issues

    raise by the motion and, specifically, additional caselaw that might prove relevant

    to the analysis.   The parties complied with that request and filed their well-

    prepared supplemental memoranda. [D.E. 257, 264].

          After considering the parties’ supplemental briefing on this matter as well

    as argument of counsel and the record presented, the Court finds that

    reconsideration is warranted because Plaintiffs’ position is sound. Defendants are

    compelled to produce the two investigative reports at issue because the Court

    prematurely deemed them work product. It turns out that they are not under a

    correct application of the dual purpose test that we are revisiting in this Order.

    And, though any work product protection may have also been waived to boot, we do

    not reach that waiver question for the reasons explained below.

                                   I.     BACKGROUND

          In October 2019, Mandiant and Bayview Asset Management, LLC

    (“Bayview”) entered into a Master Services Agreement (“MSA”) and executed a

    Statement of Work (“SOW”) that secured Mandiant’s services in the event of a data

    incident, which would be defined at the time of engagement. To be ready to quickly

    provide services in the event of a data incident, Mandiant gathered information

    about Defendants’ systems, security tooling, logging, and other relevant matters.



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          On December 2, 2019, a different security company, Protiviti, was engaged

    by Bayview through its counsel, BakerHostetler, to provide various services, two of

    which were related to data privacy or information security but unrelated to the

    breach. Prior to BakerHostetler engaging Protiviti, Protiviti had not entered into

    any SOW with Defendants to provide similar work.

          In June 2021, Mandiant and Bayview executed a renewal SOW for Mandiant

    to continue to be at the ready so that Bayview could respond quickly in the event of

    a data incident. Mandiant was purportedly not actively performing any work at the

    time the breach was discovered. But when the breach was discovered on December

    7, 2021, the only work Mandiant had performed for Bayview was the report

    providing an assessment of Bayview’s ability to support requests that may be made

    by Mandiant during an incident response engagement. Otherwise, Mandiant was

    simply at the ready to quickly respond if a data incident occurred.

          And, four days after the breach was discovered, Bayview’s counsel

    BakerHostetler engaged Mandiant to perform the forensic investigation related to

    the breach. After that investigation was completed, an internal report was prepared

    for counsel’s review. That report has not been produced in the litigation.

          Nevertheless, Plaintiffs moved to compel production of the internal reports

    created by Mandiant and Protivity. Plaintiffs argue that these reports were created

    within the ordinary course of Bayview’s business and, therefore, are not protected

    work-product. In their motion for reconsideration, Plaintiffs further support that

    take by emphasizing the pre-existing business relationship between the

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    investigative consultants and Bayview long before counsel was retained after the

    breach. And during that relationship, the consultants provided various security

    reports on matters purportedly related to the security issues involved in the breach.

    So Plaintiffs claim that this ongoing relationship evidences a business purpose

    behind the post-breach reports as opposed to any work product protected analysis

    for counsel.

          The Court’s earlier Order, however, rejected these arguments based on the

    dual purpose nature of the investigative reports. And the Court understood that

    there was a pre-existing relationship between the consultants and Bayview (a fact

    that Plaintiffs’ supplemental filings focus on).     So nothing in the motion for

    reconsideration changes the outcome with respect to that finding. Though the

    Court may be wrong on that score and reasonable minds may disagree, the Court

    stands by its original position for the reasons laid out in the June Order, at least

    based on the information then known to the Court.

          But the Court did not fully appreciate, however, what the second part of the

    motion for reconsideration is focused on. There Plaintiffs argue that, even if work

    product initially immunized these reports from discovery, that work product

    protection was lost following Bayview’s communications and disclosures to its

    regulator. On this score there is agreement by the parties that the Multistate

    Mortgage Committee (“MMC”) is a multistate regulatory agency enlisted to protect

    consumers in the mortgage business, to identify and prevent mortgage fraud, and

    to generally help regulate the mortgage industry. As it itself describes its role, the

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       MMC is “a representative body of state mortgage regulators appointed by the

       Conference of State Bank Supervisors (CSBS) and American Association of

       Residential Mortgage Regulators (AARMR) to represent the examination interests

       of the combined states under the Nationwide Cooperative Protocol and Agreement

       for Mortgage Supervision. The MMC’s primary focus is on nationwide mortgage

       lenders and servicers operating in 10 or more states.”1

             As part of that responsibility, the MMC wears many hats. At the front end

       of things, MMC conducts regular audits and compliance review of member Banks

       that are licensed by and registered in the participating States. These regular

       examinations are designed to review “multi-state banks for safety and soundness

       and compliance with applicable laws, including coordination with the host state

       supervisors, the appropriate federal bank regulatory agency and bank

       management. . . . Also, the home state supervisor shall consult with the host state

       and should use host state examiners to examine for compliance with host state laws

       regarding community reinvestment, consumer protection and fair lending, in those

       states that have enacted such laws.”2

             The same regulatory body, however, can also conduct specific investigations

       under the enforcement mechanisms that participating States have adopted.


   1      See MMC’s 2019 Mortgage Examination Manual at 9 (available at
   https://www.csbs.org/sites/default/files/external-link-
   files/MMC%20Mortgage%20Exami                            nation%20Manual%20v2%20-
   %20May%202019.pdf).
   2      See Nationwide Cooperative Agreement for Mortgage Supervision § 4.1 (Dec.
   9,     1997)    (available     at      https://www.csbs.org/sites/default/files/2017-11/
   nationwide_coop_agrmnt.pdf).
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       Specifically the “home state supervisor shall be primarily responsible for initiating

       enforcement actions against a multi-state bank. . . . Enforcement actions to address

       violations of host state laws where possible shall be taken jointly by home state and

       host state supervisors.”3

             One such enforcement action arose here after the Breach took place involving

       Bayview and its affiliated entities. As the MMC described its investigation in a

       consent decree agreed upon with Bayview:


            [O]n becoming aware of and due to the Incident, on or about April 1,
            2022, the State Mortgage Regulators, as coordinated by the MMC,
            commenced a multi-state targeted cybersecurity examination . . . of
            Respondents covering the period of January 1, 2020 through September
            30, 2022, in order to determine Respondents’ compliance with applicable
            State and Federal laws and regulations and assess the effectiveness of
            Respondents’ information technology (“IT”) and cybersecurity program.
            . . . The Multi-State Cybersecurity Examination was conducted by the
            State Mortgage Regulators from the states of California, Florida,
            Maryland, and Washington. The Multi-State Cybersecurity
            Examination of Respondents was conducted pursuant to their respective
            statutory authorities, and in accordance with the protocols established
            by the CSBS/AARMR Nationwide Cooperative Protocol for Mortgage
            Supervision as well as the Nationwide Cooperative Agreement for
            Mortgage Supervision. . . . The Report of Examination was issued by the
            MMC to Respondents on May 4, 2023, and identified alleged compliance
            violations of State and Federal law related to Respondents’ IT and
            Cybersecurity Program. . . .

   Consent Order Re Bayview Asset Management, LLC and affiliates (Dec. 31, 2024)

   (available at https://www.mass.gov/consent-order/bayview-asset-management-llc-

   and-affiliates-consent-order) (“Consent Order”).



   3     See Nationwide Cooperative Agreement for Mortgage Supervision § 5.1 (Dec.
   9,    1997)    (available    at   https://www.csbs.org/sites/default/files/2017-11/
   nationwide_coop_agrmnt.pdf).
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         As memorialized in this Consent Order, which resulted in a final

   administrative penalty assessed against Bayview in the amount of $19,629,400 plus

   costs, the results of that examination showed that Bayview had “deficient IT and

   cybersecurity practices, which allegedly constitute violations of certain federal and

   state-specific compliance laws and regulations . . . [including] insufficient IT patch

   management, insufficient centralized IT vulnerability remediation monitoring and

   enterprise reporting, insufficient IT inventory tracking, and failure to appropriately

   encrypt certain personally identifiable information when that data was at rest.” Ibid.

   To resolve these allegations, Bayview agreed to the penalty in the consent Order that

   also incorporated specific remedial measures and a corrective action plan that it

   would take going forward.

          During the course of this MMC investigation that led up to the entry of the

    Consent Order, Bayview and MMC traded correspondence related to whether

    Defendants were in compliance with federal and state regulations by adequately

    investigating and responding to the breach.         To bolster its defense to MMC’s

    criticisms of its cybersecurity investigation, including the specific criticism that it

    lacked a “root cause report,” Bayview voluntarily produced the Mandiant and

    Protiviti reports. Notably, Bayview does not contend that this production was

    compelled by any particular order, subpoena, decree or demand sent from MMC.

    Nor does Bayview claim that their production was under the auspices of any

    particular confidentiality agreement of any kind at the time of the production.




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          But Bayview insists that the confidential nature of the reports remained

    intact for various reasons.   First and foremost, The Federal Secure and Fair

    Enforcement for Mortgage Licensing Act (“SAFE Act”) directs state regulators to

    establish and maintain the National Multistate Licensing System & Registry

    (“NMLS”) to coordinate supervision of the residential mortgage industry. This

    provision expressly recognizes and preserves the privileged nature of information

    and documents provided to the NMLS. Specifically, 12 U.S.C. § 5111 provides:


         Except as otherwise provided in this section, any requirement under
         Federal or State law regarding the privacy or confidentiality of any
         information or material provided to the Nationwide Mortgage Licensing
         System and Registry or a system established by the Director under
         section 5108 of this title, and any privilege arising under Federal or
         State law (including the rules of any Federal or State court) with respect
         to such information or material, shall continue to apply to such
         information or material after the information or material has been
         disclosed to the system. Such information and material may be shared
         with all State and Federal regulatory officials with mortgage or financial
         services industry oversight authority without the loss of privilege or the
         loss of confidentiality protections provided by Federal and State laws.

   12 U.S.C. § 5111(a).

         Further Bayview points out that section 5111 expressly preempts any state

   open records law that would provide lesser protections. Id. at § 5111(c). And section

   5111 also provides that “[i]nformation or material that is subject to a privilege . . .

   under paragraph (a) of this section shall not be subject to: Subpoena or discovery, or

   admission into evidence, in any private civil action. . . .” Id. at § 5111(b)(2). Hence

   Bayview concludes that the production of its fact work product to the MMC

   investigators did not waive or forfeit its work product protection because the

   Mandiant and Protiviti reports fall under the express protections of section 5111 as
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   a matter of federal law.

         Second, Bayview would note that the conduct and conclusion of the MMC

   investigation into the Breach fully took into account this protection. The Consent

   Order itself memorialized that:


         State Mortgage Regulators, pursuant to their respective books and
         records requirements, are entitled to access privileged and confidential
         information related to Respondents investigation into the incident,
         including, but not limited to, assessment and root cause reports
         (“Incident Investigation Materials”). Further, the State Mortgage
         Regulators access to such Incident Investigation Materials is an
         important supervisory function. Such information is treated by the State
         Mortgage Regulators as confidential supervisory information and thus
         exempt from disclosure under the Secure and Fair Enforcement for
         Mortgage Licensing (“SAFE”) Act, applicable state law, and the
         CSBS/AARMR Protocol and Agreement, and the disclosure of the
         Incident Investigation Materials does not act to terminate the
         confidential and privileged nature of the information.

   Consent Order, supra at 6.

          Plaintiffs on the other hand argue that Bayview’s bold reliance on section

    5111 fails to sustain its continued work product claim to reports that it voluntarily

    disclosed to an adversary. Plaintiffs argue that the SAFE Act applies exclusively

    to the NMLS that is an online database that manages licenses for companies and

    individuals in the financial services industry. The MMC, however, operates its own

    platform for use during examinations. And its Mortgage Examination Manual

    provides: “[T]he MMC does not send, receive, or request transmission of

    unencrypted electronic non-public sensitive information. The MMC uses Box (MMC




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    Exam Platform) as a tool to securely disseminate information. The MMC Exam

    Platform allows both examiners and MMEs to share information.”4

           Thus, while the MMC has access to the NMLS for information relating to

    MMEs, i.e., Bayview and the related Defendants, it does not use the NMLS to

    exchange examination-related materials directly with MMEs.           And, most

    importantly, Defendants’ decision to waive work-product protection was made as a

    result of direct discussions with the MMC without the application of an express

    confidentiality agreement between the parties.     The Reports were shared by

    BakerHostetler (defense counsel) directly to the MMC, without any confidentiality

    agreement (and outside the scope of the NMLS). [D.E. 264 at 11 (citing D.E. 218-1

    (Exh. 18 at 2-4))].

                                    II. ANALYSIS

           To refresh our collective recollection, we start by acknowledging that the

    Court’s initial decision deeming these Reports to be protected work product was a

    close call. Courts in our Circuit have used either the primary purpose or dual

    purpose test in addressing similar claims of work product protection. Goosby v.

    Branch Banking & Trust Co., 309 F. Supp. 3d 1223, 1234 (S.D. Fla. 2018). Under

    the primary purpose test, a document is protected “as long as the primary

    motivating purpose behind the creation of the document was to aid in possible




      4
          MMC Mortgage Examination Manual at 15, supra n.1.

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    future litigation.” Id. at 1233 (quoting United States v. Davis, 636 F.2d 1028, 1040

    (5th Cir. 1981)). With the dual purpose test, “even if a document has some purpose

    within the ordinary course of business, the document is protected as work product

    if it is substantially infused with litigation purpose.” Id. (quoting Devs. Sur. &

    Indem. Co. v. Harding Vill., Ltd., No. 06-21267CIV, 2007 WL 2021939, at *2 (S.D.

    Fla. July 11, 2007) (emphasis added)). This Court has previously found that it

    “view[s] the issue from a practical standpoint” and looks to whether litigation was

    one important reason for the creation and use of a document. See, e.g., Van Calcar

    v. Royal Caribbean Cruises, Ltd., No. 14-20280-CIV-Cooke/Torres, 2014 WL

    12861855, at *3 (S.D. Fla. Nov. 19, 2014); Button v. Royal Caribbean Cruises, Ltd.,

    No. 12-23624-Civ-Ungaro/Torres, 2013 WL 12064489, at *5 (S.D. Fla. June 25,

    2013). And that view is now a majority view among the circuits. See, e.g., United

    States v. Deloitte LLP, 610 F.3d 129, 138 (D.C. Cir. 2010) (“a document can contain

    protected work-product material even though it serves multiple purposes, so long

    as the protected material was prepared because of the prospect of litigation.”)

    (collecting cases); but see United States v. El Paso Co., 682 F.2d 530, 542 (5th Cir.

    1982) (anticipation of litigation must be the “primary motivating purpose” behind

    a document’s creation in order to fall within the work product privilege).

          Based on this line of authority, the Court found that the Reports were

    protected under the work production privilege’s dual purpose test. See also In re

    Experian Data Breach Litig., No. SACV 15-01592, 2017 WL 4325583, at * 2-3 (C.D.

    Cal. May 18, 2017) (the court found that “Mandiant conducted the investigation

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    and prepared its report for [outside counsel] in anticipation of litigation, even if that

    wasn’t Mandiant’s only purpose” and, therefore, it was protected work product); In

    re Marriott Int’l Inc. Customer Data Sec. Breach Litig., MDL No. 19-MD-2879, 2021

    WL 2660180 (D. Md. June 29, 2021) (because Marriott had retained IBM to provide

    the services specific to assisting BakerHostetler in providing legal advice to

    Marriott, the documents related to the consultant’s investigation were protected

    attorney work product).

           But had the record clearly evidenced that litigation investigation was a far

    less important consideration, and that corporate business reasons predominated

    over the creation of these reports in the first place, the outcome should have been

    different. So before turning to the waiver arguments that the Court anticipated

    being the focus of the discussion on this motion, let’s turn back to the work product

    issue and reconsider whether we need to take a different approach for these two

    reports.

          A.     Whether the reports can still be treated as work product

           It is axiomatic that a document primarily prepared for business or corporate

    governance purposes is not privileged just because it is prepared by counsel or her

    agents. So even in cases that have led the charge in favor of the dual purpose or

    “because of” tests, like the Second Circuit in United States v. Adlman, documents

    that fall within that scope are not protected:

          Where a document is created because of the prospect of litigation,
          analyzing the likely outcome of that litigation, it does not lose protection
          under this formulation merely because it is created in order to assist
          with a business decision. Conversely, it should be emphasized that the
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         “because of” formulation that we adopt here withholds protection from
         documents that are prepared in the ordinary course of business or that
         would have been created in essentially similar form irrespective of the
         litigation. It is well established that work-product privilege does not
         apply to such documents.

    United States v. Adlman, 134 F.3d 1194, 1202 (2d Cir. 1998) (emphasis added).

         In that case, for instance, the Court upheld application of the work product

   privilege to tax-related documents generated by an accountant and counsel that

   analyzed the benefits, proposed methods, and potential litigation risks of a corporate

   merger and restructuring contemplated by a corporation. Even though this analysis

   was grounded on business-related purposes, i.e. an evaluation of a proposed corporate

   restructuring, the Court found that it could still be protected as work product because

   it also was generated with anticipated litigation by the IRS in mind. Id. at 1195 (“It

   proposed possible legal theories or strategies for Sequa to adopt in response,

   recommended preferred methods of structuring the transaction, and made

   predictions about the likely outcome of litigation.”). Notably, however, the Court

   remanded the dispute back to the District Judge to determine if the business purpose

   predominated:


         Whether it can fairly be said that the Memorandum was prepared
         because of that expected litigation really turns on whether it would have
         been prepared irrespective of the expected litigation with the IRS. If the
         district court concludes that substantially the same Memorandum
         would have been prepared in any event—as part of the ordinary course
         of business of undertaking the restructuring—then the court should
         conclude the Memorandum was not prepared because of the expected
         litigation and should adhere to its prior ruling denying the protection of
         the Rule.

    Id. at 1204 (emphasis added).

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          The Court’s original Order in this dispute understood these principles and

    applied them to the facts then available in the record. The Court’s review of the

    supporting materials evidenced a consultant’s report prepared for counsel in

    anticipation of litigation filed by aggrieved customers who would likely claim that

    the data breach was Defendants’ fault. That anticipated litigation, like the looming

    IRS audit and challenge in Adlman, was not just possible; it was likely. Hence, the

    Court deemed the work product privilege to be plausibly asserted even though there

    were other business interests that were relevant to their creation in the regular

    course of Bayview’s business, including the responsibility of helping to identify and

    fix the breach.

          That assessment, however, may have been hasty. What the Court then did

    not appreciate was how central these two “privileged” reports were in Bayview and

    Defendants’ compliance with the regulatory framework it was duty-bound to follow.

    The record submitted on the motion for reconsideration, which the Court has

    reviewed at length, evidences that these two reports per se played a far more central

    purpose in Bayview’s regulatory compliance.         According to the regulations

    governing its operations, and as the Consent Order now available to the Court

    makes clear, “assessment and root cause reports” are required by the State

    Mortgage Regulators as part of the company’s duty to maintain books and records

    under the laws of each participating State in which it does business. And when an

    MMC investigation is required, those root cause reports are required to be turned



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    over to the MMC examiners as part of the MMC’s “important supervisory function.”

    Consent Order, supra at 6.

          So, absent any alternative report prepared outside of the sphere of work

    product that could be submitted in their place, Bayview’s unredacted submission of

    these two work product reports when the MMC demanded the root cause reports

    evidences only possible conclusion: the predominant purpose for the creation of the

    reports was for regulatory compliance – a factor that the Court’s original Order

    assumed was not the case. The Court’s original review of the record showed that

    Bayview’s data breach investigation was an ancillary part of its operations, which

    primarily involve mortgage lending. But these regulations – most of whom Bayview

    and Defendants have pointed us to – illustrate the central purpose that data

    maintenance compliance has in its day-to-day operations in accordance with the

    participating States licensing authority.

          That change in course has one clear ramification. We cannot deem the

    generated reports to be work product, under the dual purpose test that we believe

    to be bound by, unless we find that there is something in the reports that, but for

    the anticipated litigation, would not have been there in the ordinary course of

    Bayview’s business. As Adlman put it, we are obligated to determine “whether the

    Memorandum studying the tax implications of the contemplated restructuring

    would have been prepared in substantially similar form regardless whether

    litigation was contemplated, and thus was not prepared ‘because of’ the expected

    litigation.” 134 F.3d at 1203. So if the same report, and same factual analysis in

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    the reports, was going to be drafted and submitted as part of the regulation’s root

    cause requirements, then anticipation of litigation falls by the wayside.

           In other words, our original conclusion simply was based on the conclusion

    that litigation defense did not have to be the primary reason for the creation of the

    document. So even if business interests were also being addressed through the

    investigators’ work product, the attorney work product protection prevailed. But

    what we failed to appreciate was this other aspect of the dual purpose test: if the

    primary purpose for the document was for business reasons, and the document

    would have been created as is even if lawyers and their agents had no role, can the

    document still be work product? The answer, according to the courts of appeal that

    have addressed this, is no.

           Take, for instance, the Ninth Circuit’s application of the dual purpose test.

    That circuit formally adopted the dual purpose test long ago that, to qualify for

    work-product protection, documents must: (1) be “prepared in anticipation of

    litigation or for trial” and (2) be prepared “by or for another party or by or for that

    other party’s representative.” In re Grand Jury Subpoena, 357 F.3d 900, 907 (9th

    Cir. 2004). In circumstances where a document serves a dual purpose, that is, where

    it was not prepared exclusively for litigation, then the “because of” test is used. Id.

    Dual purpose documents are deemed prepared because of litigation if “in light of

    the nature of the document and the factual situation in the particular case, the

    document can be fairly said to have been prepared or obtained because of the

    prospect of litigation.” Id.

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          In applying that test in a case analogous to this one, the Ninth Circuit held

    in United States v. Richey that the dual purpose test did not protect a tax

    appraiser’s work file that was generated, at the direction of counsel, to provide

    valuation services and advice in connection with a conservation easement owned

    by a partnership that was used to claim a charitable tax deduction on the

    partnership’s tax return. 632 F.3d 559, 562 (9th Cir. 2011).          Work product

    protection was claimed when the IRS balked at the deduction and issued an IRS

    summons for documents. The partnership argued, like Bayview, that litigation was

    anticipated by counsel when the tax review was initiated and thus the appraiser’s

    work was protected even though much of that same work was used to prepare the

    tax return in question. The district court agreed with that argument under the

    dual purpose test, but the Ninth Circuit reversed, citing Adlman, because the

    record evidenced a legal requirement to prepare the very same documents in

    connection with the tax return. A key part of this was an appraisal report prepared

    by the appraiser that was attached to the return, which the court found critical to

    the analysis: “Had no appraisal report been attached to the Peskys’ 2002 federal

    income tax return, the Taxpayers would have been ipso facto ineligible for any

    charitable deduction as a result of the contribution of the Easement. Had the IRS

    never sought to examine the Taxpayers’ 2003 and 2004 federal income tax returns,

    the Taxpayers would still have been required to attach the appraisal to their 2002

    federal income tax return.” Id. at 568. The district court thus erred in treating the

    work papers as work product even if a lawyer retained the appraiser to conduct

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    that review and even though litigation with the IRS was anticipated. “Considering

    the totality of the circumstances, we cannot properly conclude that the appraisal

    work file ‘can be fairly said to have been prepared or obtained because of the

    prospect of litigation.’” Id.

           Using these consistent circuit cases as our guide in the absence of Eleventh

    Circuit precedent to the contrary, our conclusion that these two reports were work

    product must be reconsidered under the dual purpose test. The Court finds that

    litigation purpose was only a tangential reason for their creation; instead, based on

    the current available record they were primarily created as part of Bayview and

    Defendants’ obligation to comply with regulatory obligations owed to their state

    regulators and, if necessary, in compliance with their duty to provide root cause

    reports in the event of a data breach. Even after complying with the MMC’s

    demand for these root cause reports, it turned out that Bayview was still liable for

    breach of its compliance requirements under the law to the tune of $19 million.

    That sum would undoubtedly have even been greater had the MME found that

    Bayview failed to prepare or provide root cause reports when requested as part of

    this investigation. Hence, the record shows that these reports would have been

    prepared and submitted to the MMC even if they were generated by an investigator

    that did not report to or ever deal with BakerHostetler. There is no better evidence

    for this than Bayview’s admission that the reports were turned over without

    redaction and without any qualification in order to be “helpful” to the investigation.

    How would that production be any different than an appraisal report attached to

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    an IRS tax return that was mandated by law? The legal duty to provide that type

    of information pre-existed any attorney retention or prospect of litigation.

          Bayview would stand on stronger footing, of course, if the reports had not

    been summarily turned over and, instead, simply being a source for a separately-

    created document that would be used as the root cause report. In that case, any

    particularly sensitive findings targeting the prospect of litigation could have been

    omitted, while leaving intact factual information generated during the course of

    that multi-purpose investigation. Perhaps that is how Bayview and similar entities

    should deal with these problems in the future. But the record shows that this is

    not what happened here.

          In sum, by turning over these reports in this way in order to comply with

    their legal obligations to prepare root cause reports, no work product protection was

    generated even though litigation was a factor in their creation. The predominant

    reason for their creation was regulatory compliance for regulators who could levy

    significant penalties against Bayview. Under the dual purpose test, this unique

    legal duty to produce these reports overwhelms any ancillary litigation purpose. So

    these documents are not, then, “dual purpose” documents; they are primarily

    corporate compliance documents that have no privilege attached to them.

          Further support for this reconsideration is found in the same cases the Court

    analyzed in reaching its earlier conclusion. In a key case that Bayview cited, which

    was applying Ninth Circuit’s dual purpose test, In re Experian Data Breach Litig.,

    No. 15-01592, 2017 WL 4325583 (C.D. Cal. May 18, 2017), the court denied the

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    plaintiffs’ motion to compel a third-party investigator’s report and documents

    related to the investigation of a data breach event. In that case, when Experian

    learned that one of its systems was breached, it retained the law firm Jones Day

    for legal advice regarding the attack. In turn, Jones Day retained Mandiant to

    conduct an analysis of the attack. According to Experian, the only purpose of that

    report was to assist Jones Day in providing legal advice to Experian regarding the

    attack, realizing that Experian’s own experts lacked sufficient resources. Id. at *2

    (emphasis added).

          In their motion plaintiffs argued that because Experian had independent

    business duties to investigate any data breaches and it hired Mandiant to do such

    work, the expert report was not work product. Id. at *2. The court rejected that

    argument, reasoning that Mandiant was hired by Jones Day to assist the lawyers

    in providing legal advice to the client in anticipation of litigation.      And most

    notably, the court relied on the fact the report as a whole was only turned over to

    the lawyers. There was no discussion or any mention of the report being produced

    wholesale to any third party, nor was there any issue about production of the report

    as part of the finance company’s regulatory compliance.

          To the contrary, the court’s analysis affirmatively relied on the fact the report

    as a whole was not turned over to anyone, even those within the client’s operations.

    Selected portions of the report were in fact provided to a team of personnel from

    Experian’s “Incident Response Team” to assist in their remediation efforts. But the

    court’s opinion took pains to point out that these selected portions were limited for

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    that purpose: “If the report was more relevant to Experian’s internal investigation

    or remediation efforts, as opposed to being relevant to defense of this litigation, then

    the full report would have been given to that team. The evidence here establish that

    Jones Day instructed Mandiant to do the investigation and, but for the anticipated

    litigation, the report wouldn’t have been prepared in substantially the same form or

    with the same content.” Id. at *2 (emphasis added).

          In measuring the Experian decision by the standards adopted in the Ninth

    Circuit, Second Circuit, and elsewhere, it is indeed a proper application of the dual

    purpose test for the simple reason that the court found that business purposes (like

    assisting in remediation efforts) were not the predominant reason for the

    document’s creation. And had it been, the opinion is recognizing on its face that

    the outcome would be very different because in that case it “would . . . have been

    created in substantially similar form [even with] the prospect of that litigation.” Id.

    at *1 (quoting In re Grand Jury Subpoena, 357 F.3d at 908) (alteration added).

          In following that correct decision here, however, the Court overlooked a

    critical factual difference. Frankly, perhaps the record before the Court at the time

    of the initial Order should have been enough to distinguish this case. But apologies

    aside, the record is crystal clear now, especially after we have the benefit of the

    Consent Order that Defendants entered into with the participating State regulators

    in December 2024. Unlike Experian, these attorney-mandated reports were in fact

    turned over, in wholesale fashion, to these third parties because of the regulatory

    duty to provide “root cause” reports in connection with an MME investigation.

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    Bayview was legally obligated to do so. By generating these reports, Bayview was

    complying with its legal obligations and would have had to do so, with the same

    reports, even if counsel had never been hired and legal work product had never

    been requested. So, under the dual purpose test that the Court was purportedly

    following in its initial Order, these reports should not have been deemed work

    product. See also In re Premera Blue Cross Customer Data Sec. Breach Litig., 296

    F. Supp. 3d 1230, 1246 (D. Or. 2017) (compelling production of Mandiant reports

    over work product objection; “the Court concludes that Premera has not shown that

    all of the underlying documents relating to the Mandiant reports were created

    because of anticipated litigation and ‘would not have been created in substantially

    similar form but for the prospect of litigation.’”) (quoting United States v. Richey,

    632 F.3d at 568).

          Other similar decisions applying the dual purpose test are in accord with this

    analysis. For instance, in Wengui v. Clark Hill, PLC, No. 19-3195, 2021 WL 106417,

    (D.D.C. Jan. 12, 2021), Judge Boasberg was following the same dual purpose test

    that the D.C. Circuit adopted in United States v. Deloitte LLP, 610 F.3d 129, 137

    (D.C. Cir. 2010) (applying because of test: “a document can contain protected work-

    product material even though it serves multiple purposes, so long as the protected

    material was prepared because of the prospect of litigation.”) (remanding work

    product finding for further examination to determine if portions of auditor’s report

    would have been created irrespective of litigation). There a plaintiff's personal

    information collected by his former law firm/defendant was hacked by a third party,

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    leading to a lawsuit against the law firm. The plaintiff sought production of reports

    of forensic investigations into the cyberattack. The firm resisted, claiming that the

    documents sought by plaintiff were produced by external security-consulting firm

    Duff & Phelps, retained by outside litigation counsel, and therefore, were covered

    by both the attorney client privilege and work product. Id. at *2. The court

    compelled production of the reports because the firm “has not met its burden to

    show that the Report, or a substantially similar document, ‘would [not] have been

    created in the ordinary course of business irrespective of litigation.’ ” Id. at *5

    (quoting Banneker Ventures, LLC v. Graham, 253 F. Supp. 3d 64, 72 (D.D.C. 2017)).

    Further support for that conclusion was found in the fact the subject report was,

    not only shared with outside counsel, but produced to firm leadership and personnel

    as well as the FBI that investigated the hack. Based on these facts, the court

    concluded that “the Report was shared this widely because it was the one place

    where [defendant] recorded the facts of what had transpired,” all of which evidenced

    that the vendor had a more far-reaching role than merely assisting outside counsel

    in preparation for litigation. Id. at *12-13.

          That analysis is certainly quite analogous to the record presented here.

    When push came to shove, Bayview did not generate a root cause report separate

    and apart from the Mandiant and Protiviti reports. Instead, it simply turned the

    reports over to the MMC. Why? Because the record shows that was what Bayview

    had to evidence its compliance with its regulatory obligations to properly

    investigate any such data breach. That fact, as in Wengui, underscores that the

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    overarching purpose for the investigation and the report focused on corporate and

    regulatory compliance as opposed to legitimate litigation needs. So, like the report

    produced in Wengui, the work product nature of the report evaporates because the

    report would clearly have had to be created whether or not litigation was also

    anticipated.

          Again, nothing stopped Bayview from requesting different reports from the

    consultants. For instance, Mandiant could have generated two separate reports;

    one for the lawyers and in house counsel, and another report with selected portions

    of the main report for use as the root cause report. And then that second report

    could have been produced during the MME’s investigation.              Under those

    circumstances, the dual purpose test properly applied would allow for such a

    distinction between the two reports. See, e.g., Maldondo v. Solara Med. Supplies,

    LLC, No. 20-12198, 2021 WL 8323636, at *1-3 (D. Mass. June 2, 2021) (denying

    production of main work product report prepared by examiner hired for data breach

    investigation; law firm hired examiner to perform a privileged forensic

    investigation into the incident to assist the attorneys in providing legal advice to

    the company, as well as a separate report (already produced in discovery) originally

    intended for submission to Federal Trade Commission for regulatory purposes).

          For whatever reason that did not happen here. The reports were produced

    to counsel first and then re-produced in their entirety to the MMC as being

    tantamount to the root cause report.        That renders the same document a

    prototypical regulatory document, required by law, that would have been generated

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    and produced even absent any law firm’s involvement or litigation being

    anticipated. Under the dual purpose test, that report does not possibly qualify as

    work product.

          Accordingly the motion for reconsideration is Granted and the Court now

    enters this Order that deems the documents at issue to fall outside the protection

    of the work product doctrine. Defendants are compelled to produce the Mandiant

    and Protiviti reports to Plaintiff subject to the Court’s Confidentiality Order.

         B.     Whether any work product privilege was waived

          Given the Court’s reconsideration of the underlying work product claim,

    there is no urgent need now to tackle the waiver issue as originally intended. That

    is because the documents at issue are not work product in the first place, so they

    are not any more unprotected now that they were turned over to the MMC. And

    indeed, as discussed above, that wholesale production to the MMC evidences why

    the document is not work product under the rule of decision that governs here.

          A few points will still be addressed, however. Assuming the documents are

    work product in the first place, Plaintiffs argue that the production of the reports

    to the MMC constitutes a waiver of the protection in their entirety.               And

    Defendants’ argument, urging application of the selective waiver doctrine to allow

    the reports to retain their work product protection, should be rejected. We agree

    that the selective waiver doctrine would have no bearing here based on the majority

    view of the circuits that such a doctrine does not shield production of documents

    turned over to an adversary.        See, e.g., In re Columbia/HCA Health Care

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    Corporation Billing Practices Litig., 293 F.3d 289 (6th Cir. 2002). Under this view

    courts should reject the concept of “selective waiver” and hold that a voluntary

    disclosure to one’s adversary is a waiver as to all adversaries. See id. at 306 (a

    company cannot “pick and choose to which adversaries [it would] reveal

    documents”) (alteration in original).

          The record here shows that, at the time of their production to the MMC, the

    reports were produced to stave off any penalties or findings of non-compliance

    arising from the participating States’ laws and regulations.         That MMC’s

    investigation was clearly potentially adverse to Bayview and Defendants at the

    time it was conducted given the possibility of penalties or sanctions that could be

    levied. So under the voluntary waiver concept, Bayview’s decision to produce the

    entire reports to the MMC would ordinarily foreclose any claim now to assert work

    product protection in subsequent litigation.

          That is especially true where production of work product to an adversary is

    done without the cover of an express confidentiality agreement, court order,

    subpoena, or other form of compulsion on which one could rely in disputing that

    any voluntary waiver ever took place. And here there is no dispute that no specific

    document was executed or relied upon at the time the documents were produced.

    See also In re Steinhardt Partners, L.P., 9 F.3d 230, 235 (2d Cir. 1993) (“Once a

    party allows an adversary to share the otherwise privileged thought processes of

    counsel, the need for the privilege disappears.”) (rejecting idea of selective

    disclosure adopted by some courts and holding that company’s transmittal to SEC—

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    a potential litigation adversary—of memorandum prepared by company attorney

    in response to agency inquiry waived document’s work-product protection as to

    shareholder plaintiffs in subsequent litigation).

          On the other hand, we are not going to make a definitive finding on this score.

    The same regulatory backdrop and documentation that the Court has reviewed in

    connection with the section above does reveal an arguable basis to find that

    production of these documents under an MME process, if demanded by a state

    regulator as was done here, does not give rise to a waiver. Defendants have

    presented a persuasive argument that their litigation privileges are expressly

    preserved from waiver/forfeiture by operation of statute.       Even if this MMC’s

    investigation is sufficiently adversarial, Defendants point to the fact the context of

    the disclosure was based on the MMC’s statutorily-driven examination under the

    auspices of the NMLS. An aspect of this regulatory framework involves specific

    examinations like this one, all of which fall under the umbrella of the Federal

    Secure and Fair Enforcement for Mortgage Licensing Act (“SAFE Act”), which

    directs state regulators to establish and maintain the NMLS for the purpose of

    coordinating supervision of the residential mortgage industry. This statute also

    recognizes and preserves the privileged nature of information and documents

    provided to the NMLS:


         Except as otherwise provided in this section, any requirement under
         Federal or State law regarding the privacy or confidentiality of any
         information or material provided to the Nationwide Mortgage Licensing
         System and Registry or a system established by the Director under
         section 5108 of this title, and any privilege arising under Federal or
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         State law (including the rules of any Federal or State court) with respect
         to such information or material, shall continue to apply to such
         information or material after the information or material has been
         disclosed to the system. Such information and material may be shared
         with all State and Federal regulatory officials with mortgage or financial
         services industry oversight authority without the loss of privilege or the
         loss of confidentiality protections provided by Federal and State laws.

   12 U.S.C. § 5111(a) (emphasis added).

         Further Bayview points out that section 5111 expressly preempts any state

   open records law that would provide lesser protections. Id. at § 5111(c). And section

   5111 also provides that “[i]nformation or material that is subject to a privilege . . .

   under paragraph (a) of this section shall not be subject to: Subpoena or discovery, or

   admission into evidence, in any private civil action. . . .” Id. at § 5111(b)(2). Hence

   Bayview understandably argues that the production of its work product to the MMC

   investigators would not waive or forfeit its work product protection because the

   Mandiant and Protiviti reports fall under the express protections of section 5111 as

   a matter of federal law. And even if they are not expressly related to the NLMS

   licensing process, as Plaintiffs point out, they are still within the auspices of the

   regulatory framework that ultimately gave rise to the MMC’s examination in this

   case. The MME protocol cited by the Court above clearly suggests that this process

   is part and parcel of the overall regulatory system that federal and state regulators

   have agreed to follow with respect to multi-state institutions like Bayview and

   Defendants.

         Upon review of the statute and the regulations cited, Defendants have a

   compelling argument that an MMC’s investigation does not fall outside the protection

   contemplated by the statute. Why would it? The MME protocol was agreed upon

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   precisely to enforce compliance with federal and state laws. It would be incongruous

   if the statutory confidentiality imposed by the statute is limited to only the initial

   licensing and regular maintenance process, but withers once there is a specific

   investigation by the same regulatory authorities if notice of a specific violation is

   received. At least at first blush, that makes little sense.

         There is an old saying in judicial circles that “when in doubt, leave it out.”

   There is a certain clarity in that approach because it prevents idle hand wringing

   over legal issues that are ultimately not necessary to the required outcome. We will

   leave this debate over the legal effect of this statute on traditional voluntary

   disclosure principles right there. Because these documents cannot qualify as work

   product, application of the privilege-preserving language of the statute is a moot

   point. We do so with the caveat that the statute does not save Bayview from the effect

   of the Court’s earlier analysis. In other words, the statute may immunize disclosure

   of otherwise protected documents on a selective waiver argument. But the converse

   is not true: unprotected, non-work product documents do not magically become

   privileged, by operation of this same statute, when they are turned over to MMC

   investigators or other NLMS-related authorities.          The statute arguably only

   preserves the protection that already exists under the law so, as in this case, if that

   governing law does not in fact apply then the statute has nothing to protect as a shield

   against relevant discovery in a civil action.

         Here, we have found on reconsideration that these reports do not qualify as

   privileged work product based on how they were generated and the proper application

   of the dual purpose test. When they were produced to the MMC investigating this
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   data breach, there was no work product to waive. They are primarily business and

   regulatory-related documents that were required to be produced by law. Section 5111

   thus has no bearing here because there is no privilege or legal protection to exempt

   from the traditional application of federal or state legal principles. Those principles,

   correctly applied, result in no legal protection for these reports from the normal rules

   of discovery. And section 5111 does not create a work product immunity where none

   existed.

         In sum, we will table for a future case whether a work product-protected

   investigative report loses that protection when mandatorily produced to an MMC

   investigator. This case does not call for a final answer to that interesting question

   because there is no work product-protected report to begin with.

                                   III. CONCLUSION

         For the reasons set forth above, Defendants shall produce to Plaintiffs the

   Mandiant and Protiviti reports at issue within seven days of this Order. Defendants’

   objections to the related discovery requests are Overruled. The pending motion for

   reconsideration [D.E. 218] is GRANTED. The Court’s Order entered June 12, 2024

   [D.E. 211] is VACATED.

              DONE AND ORDERED by the Court this 27th day of March, 2025.




                                                  EDWIN G. TORRES
                                                  United States Magistrate Judge




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